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Hon. Robert J. Bryan

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT TACOMA

DEMOND LAVELLE BABB, a single
person,

No. 3:18-cv-05215-RJB-DWC
Plaintiff,
SOUTH CORRECTIONAL ENTITY
vs. DEFENDANTS’ ANSWER AND

AFFIRMATIVE DEFENSES
CITY OF TACOMA, a Washington
Municipal Corporation; "JOHN DOES 1-2"
and "JANE DOES 1-2", husbands and wives;
CITY OF FIFE, a Washington Municipal
Corporation; "JOHN DOES 3-7" and "JANE
DOES 3-7", husbands and wives; SOUTH
CORRECTIONAL ENTITY, a Washington
Municipal Corporation; and "JOHN DOES
8-15" and "JANE DOES 8-15", husbands and
wives,

Defendants.

 

 

 

Comes now defendants South Correctional Entity, John Does 8-15, and Jane Does 8-15
(hereinafter “SCORE”), through its attorneys, and in answer to plaintiffs complaint admits,
denies, and alleges as follows.

I, PARTIES, JURISDICTION, AND VENUE
1.1 Defendants SCORE are without knowledge of the truth or falsity of the

allegations contained in paragraphs 1.1 of plaintiffs complaint and therefore deny the same.

SOUTH CORRECTIONAL ENTITY DEFENDANTS’

 

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12 Defendants SCORE are without knowledge of the truth or falsity of the
allegations contained in paragraphs 1.2 of plaintiff's complaint and therefore deny the same.

1.3 The allegations contained in paragraph 1.3 of plaintiff's complaint are not
directed to Defendants SCORE, and therefore, Defendants SCORE make no answer thereto.

14 Defendants SCORE are without knowledge of the truth or falsity of the
allegations contained in paragraphs 1.4 of plaintiff’s complaint and therefore deny the same.

1.5 The allegations contained in paragraph 1.5 of plaintiff's complaint make no
allegations directed to Defendants SCORE, and therefore, Defendants SCORE make no answer
thereto.

16 Defendants SCORE are without knowledge of the truth or falsity of the
allegations contained in paragraphs 1.6 of plaintiff’s complaint and therefore deny the same.

1.7 Defendant SCORE admits it is a Washington Municipal Corporation.

Defendants SCORE deny the remainder of the allegations on the basis that they call for a legal

‘| conclusion and reference a written agreement that speaks for itself.

1.8 Defendants SCORE deny the allegations contained in paragraph 1.8 of
plaintiffs complaint.

1.9 Defendants SCORE are without knowledge of the truth or falsity of the
allegations contained in paragraphs 1.9 of plaintiff?s complaint and therefore deny the same.

1.10 Defendants SCORE are without knowledge of the truth or falsity of the
allegations contained in paragraphs 1.10 of plaintiffs complaint and therefore deny the same.

1.11 Defendants SCORE deny the allegations contained in paragraph 1.11 of
plaintiffs complaint as conclusions of law.

1.12 Defendants SCORE deny the allegations contained in paragraph 1.12 of

plaintiff's complaint as conclusions of law.

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II. FACTS
2.1 Defendants SCORE are without knowledge of the truth or falsity of the

allegations contained in paragraphs 2.1 of plaintiffs complaint and therefore deny the same.

2.2 Defendants SCORE are without knowledge of the truth or falsity of the
allegations contained in paragraphs 2.2 of plaintiff's complaint and therefore deny the same.

2.3. Defendants SCORE are without knowledge of the truth or falsity of the
allegations contained in paragraphs 2.3 of plaintiffs complaint and therefore deny the same.

2.4 Defendants SCORE are without knowledge of the truth or falsity of the
allegations contained in paragraphs 2.4 of plaintiff's complaint and therefore deny the same.

2.5 Defendants SCORE are without knowledge of the truth or falsity of the
allegations contained in paragraphs 2.5 of plaintiff's complaint and therefore deny the same.

2.6 Defendants SCORE are without knowledge of the truth or falsity of the
allegations contained in paragraphs 2.6 of plaintiff's complaint and therefore deny the same.

2.7 Defendants SCORE are without knowledge of the truth or falsity of the

‘allegations contained in paragraphs 2.7 of plaintiffs complaint and therefore deny the same.

2.7(sic) Defendants SCORE are without knowledge of the truth or falsity of the
allegations contained in paragraphs 2.7(sic) of plaintiff’s complaint and therefore deny the
same,

2.8 Defendants SCORE are without knowledge of the truth or falsity of the
allegations contained in paragraphs 2.8 of plaintiffs complaint and therefore deny the same.

2.9 Defendants SCORE are without knowledge of the truth or falsity of the
allegations contained in paragraphs 2.9 of plaintiffs complaint and therefore deny the same.

2.10 Defendants SCORE are without knowledge of the truth or falsity of the

allegations contained in paragraphs 2.10 of plaintiff's complaint and therefore deny the same.

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2.11 Defendants SCORE are without knowledge of the truth or falsity of the
allegations contained in paragraphs 2.11 of plaintiffs complaint and therefore deny the same.

2.12 Defendants SCORE admit plaintiff was transported from the Fife Jail to SCORE
where he was booked into the facility. Defendants SCORE are without knowledge of the truth
or falsity of the remaining allegations related to the existence of Plaintiff's backpack and
medications, but have no record of receiving plaintiffs backpack or medications upon his
booking, and therefore deny the same.

| 2.13 Defendants SCORE admit the plaintiff underwent a medical intake screening
during which the plaintiff reported having a seizure disorder. Plaintiff identified a previous
medical provider. Defendants SCORE deny the remaining allegations contained in paragraph
2.13 of plaintiff’ s complaint.

2.14 Defendants SCORE admit the plaintiff was assigned to housing with video
monitoring and a call button, as all cells at SCORE have video monitoring and a call button.
Defendants SCORE deny the remainder of the allegations in paragraph 2.14 of plaintiff's
compliant.

2.15 Defendants SCORE admit plaintiff was housed in a cell monitored by video
camera. Defendants SCORE deny plaintiffs allegations related to the video on the basis that
any video recording of plaintiffs cell speaks for itself. Defendants SCORE further deny the
remainder of plaintiffs allegations contained in paragraph 2.15 of plaintiffs complaint.

2.16 Defendants SCORE admit plaintiff was in custody from 20:52 on December 25,
2014 to 20:32 on December 30, 2014. Defendants SCORE deny the remaining allegations
within paragraph 2.16 of plaintiff's complaint.

2.17 Defendants SCORE are without knowledge of the truth or falsity of the

allegations contained in paragraphs 2.17 of plaintiffs complaint and therefore deny the same.

SOUTH CORRECTIONAL ENTITY DEFENDANTS?

 

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2.18 Defendants SCORE are without knowledge of the truth or falsity of the
allegations contained in paragraphs 2.18 of plaintiffs complaint and therefore deny the same.

2.19 Defendants SCORE are without knowledge of the truth or falsity of the
allegations contained in paragraphs 2.19 of plaintiffs complaint and therefore denies the same.

2.20 Defendant SCORE is without knowledge of the truth or falsity of the allegations
contained in paragraphs 2.20 of plaintiff's complaint and therefore denies the same.

2.21 Defendant SCORE denies the allegations contained in paragraph 2.21 of
plaintiff's complaint.

Ill. FIRST CAUSE OF ACTION - Tort of Outrage
City of Tacoma and “John Does 1-2”

3.1 Defendants SCORE incorporate its response to paragraphs 1.1-2.21(sic) as
though fully set forth herein.

3.2. The allegations contained in paragraph 3.2 of plaintiff's complaint make no
allegations directed to Defendants SCORE, and therefore, a response is not required from
Defendants SCORE.

3.3. The allegations contained in paragraph 3.3 of plaintiffs complaint make no
allegations directed to Defendants SCORE, and therefore, a response is not required from
Defendants SCORE.

3.4 The allegations contained in paragraph 3.4 of plaintiffs complaint make no
allegations directed to Defendants SCORE, and therefore, a response is not required from
Defendants SCORE.

IV. SECOND CAUSE OF ACTION-Negligent Infliction of Emotional Distress
CITY OF TACOMA AND “JOHN DOES 1-2”

SOUTH CORRECTIONAL ENTITY DEFENDANTS’

 

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4.1 Defendants SCORE incorporate its response to paragraphs 1.1-2.21(sic) as
though fully set forth herein.
| 42 The allegations contained in paragraph 4.2 of plaintiffs complaint make no
allegations directed to Defendants SCORE, and therefore, a response is not required from
Defendants SCORE.

4.3 The allegations contained in paragraph 4.3 of plaintiffs complaint make no
allegations directed to Defendants SCORE, and therefore, a response is not required from
Defendants SCORE.

V. THIRD CAUSE OF ACTION-Tort of Outrage
| CITY OF FIFE, “JOHN DOES 3-7” and CITY OF TACOMA

5.1 Defendants SCORE incorporates its response to paragraphs 1.1-2.21(sic) as
though fully set forth herein.

5.2. The allegations contained in paragraph 5.2 of plaintiffs complaint make no
allegations directed to Defendants SCORE, and therefore, a response is not required from
Defendants SCORE.

5.3. The allegations contained in paragraph 5.3 of plaintiff’ s complaint make no
allegations directed to Defendants SCORE, and therefore, a response is not required from
Defendants SCORE.

5.4 The allegations contained in paragraph 5.4 of plaintiffs complaint make no
allegations directed to Defendants SCORE, and therefore, a response is not required from
Defendants SCORE.

5.5 The allegations contained in paragraph 5.5 of plaintiffs complaint make no
allegations directed to Defendants SCORE, and therefore, a response is not required from

Defendants SCORE.

SOUTH CORRECTIONAL ENTITY DEFENDANTS’

 

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VI. FOURTH CAUSE OF ACTION—Negligent Infliction of Emotional Distress
“JOHN DOES 3-7”, CITY OF FIFE and CITY OF TACOMA

6.1 Defendants SCORE incorporates its response to paragraphs 1.1-2.21(sic) as
though fully set forth herein.

6.2 The allegations contained in paragraph 6.3 of plaintiff's complaint make no
allegations directed to Defendants SCORE, and therefore, a response is not required from
Defendants SCORE.

6.4 The allegations contained in paragraph 6.4 of plaintiffs complaint make no
allegations directed to Defendants SCORE, and therefore, a response is not required from
Defendants SCORE.

VII. FIFTH CAUSE OF ACTION—Tort of Outrage
“JOHN DOES 8-15”; SOUTH CORRECTIONAL ENTITY and CITY OF TACOMA

7.1 Defendants SCORE incorporates its response to paragraphs 1.1-2.21(sic) as
though fully set forth herein.

7.2 Defendants SCORE deny the allegations contained in paragraph 7.2 of
plaintiff's complaint.

7.3 Defendants SCORE deny the allegations contained in paragraph 7.3 of
plaintiffs complaint.

7.4 Defendants SCORE denies the allegations contained in paragraph 7.4 of
plaintiffs complaint.

7.5 The allegations contained in paragraph 7.5 of plaintiffs complaint make no
allegations directed to Defendants SCORE, and therefore, a response is not required from

Defendants SCORE. To the extent a response is required, Defendants SCORE deny the same.

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VII. SIXTH CAUSE OF ACTION—Negligent Infliction of Emotional Distress
“JOHN DOES 8-15”; SOUTH CORRECTIONAL ENTITY and CITY OF TACOMA

8.1 Defendants SCORE incorporate its response to paragraphs 1.1-2.21(sic) as
though fully set forth herein,

8.2 Defendants SCORE deny the allegations contained in paragraph 8.2 of
plaintiffs complaint.

8.3 The allegations contained in paragraph 8.3 of plaintiffs complaint make no
allegations directed to Defendants SCORE, and therefore, a response is not required from
Defendant SCORE. To the extent a response is required, Defendants SCORE deny the same.

8.4 The allegations contained in paragraph 8.4 of plaintiff’s complaint make no
allegations directed to Defendant SCORE, and therefore, a response is not required from

Defendant SCORE. To the extent a response is required, Defendants SCORE deny the same.

IX. SEVENTH CAUSE OF ACTION—Violation of Rights under the Eighth
Amendment, 42 USC §1983

“JOHN DOES 8-15”

9.1 Defendants SCORE incorporates its response to paragraphs 1.1-2.21(sic) as
though fully set forth herein.

9.2 Defendants SCORE deny the allegations contained in paragraph 9.2 of
plaintiff s complaint.

X. PRAYER FOR RELIEF

Answering plaintiffs Prayer for Relief, and all subparagraphs contained therein,

Defendants SCORE deny plaintiff is entitled to relief of any kind.
XI. AFFIRMATIVE DEFENSES

By way of FURTHER ANSWER and AFFIRMATIVE DEFENSES, Defendants
SCORE allege:

SOUTH CORRECTIONAL ENTITY DEFENDANTS’

 

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1. Plaintiff has failed to state a claim upon which relief can be granted.

2. The qualified immunity precludes plaintiffs claims.

3. The public duty doctrine precludes plaintiff’s claims.

4. Plaintiffs claimed injuries and damages, if any, were caused in whole or in part by
plaintiff's own negligence and/or fault. |

S. Plaintiffs claimed injuries and damages, if any, were caused in whole or in part by
persons or entities over whom defendant had no right of control.

6. Plaintiff failed to mitigate his damages, if any.

7. Plaintiffs claims are barred by the applicable statute of limitations.

8. Defendant SCORE cannot be held liable under Plaintiffs 42 USC §1983 claim
solely on a respondeat superior theory.

9. Plaintiffs claims are barred by Plaintiff's failure to comply with RCW 4.96.020.

XII. RESERVATION OF RIGHTS

Defendant reserves the right to plead further answer, affirmative defenses,

counterclaims, and/or third-party claims as investigation and discovery may warrant.

XII. PRAYER FOR RELIEF
WHEREFORE, having answered plaintiff's complaint, defendants pray for relief as

follows:

1. That plaintiffs Complaint be dismissed with prejudice and that plaintiff
takes nothing thereby;

2. That defendants be awarded judgment on its costs and attorneys’ fees

incurred in the defense of this action; and

3. For such other and further relief as this Court deems just and equitable.

DATED this _ 2" day of May, 2018.

SOUTH CORRECTIONAL ENTITY DEFENDANTS’

 

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LEE SMART, P.S., INC.

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Craig L. Mch¥voy, WSBA No. 12745
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Of Attorneys for Defendants

South Correctional Entity, John Does 8-15
and Jane Does 8-15

 

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ANSWER AND AFFIRMATIVE DEFENSES - 10
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CERTIFICATE OF SERVICE

I certify under penalty of perjury of the laws of the State of Washington that on the date
shown below a copy of the foregoing was served via ECR on the following counsel of record:

Ms. Deola Lebron

Lebron Law Group

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DATED this 2nd day of May, 2018.

SOUTH CORRECTIONAL ENTITY DEFENDANTS’
ANSWER AND AFFIRMATIVE DEFENSES - 11

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